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                                                   UNITED STATES DISTRICT COURT
                                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                          ALEXIS LONGO                             :
                          c/o The Beasley Firm, LLC                :
                          1125 Walnut Street                       :
                          Philadelphia, PA 19107                   :
                                                                   :
                                                        Plaintiff, :
                                vs.                                :                                            CIVIL ACTION
                                                                   :
                          BRYN MAWR COLLEGE                        :
                          101 North Merion Avenue                  :                                   NO: 2:21-CV-02538-JMY
                          Bryn Mawr, PA 19010-2899                 :
                                                                   :
                          and                                      :                                  JURY TRIAL DEMANDED
                                                                   :
                          NELSON DAVID GOMEZ                       :
                          BARRETO                                  :
                          47 W. Mount Airy Avenue                  :
                          Philadelphia, PA 19119-2402              :
                                                                   :
                                                     Defendants.

                                                                       NOTICE TO DEFEND

                                                  "NOTICE"                                                           "AVISO"
                           You have been sued in court. If you wish to defend          Le han demandado a usted en la corte. Si usted quiere defenderse de
                           against the claims set forth in the following pages, you    estas demandas dispuestas en las paginas siguientes, usted tiene
                           must take action within twenty (20) days after this         veinte (20) dias de plazo al partir de la fecha de la demanda y la
                           complaint and notice are served, by entering a written      notificacion. Hace falta asentar una comparencia escrita en persona
                           appearance personally or by attorney and filing in          o con un abogado y entregar a la corte en forma escrita sus defensas o
                           writing with the court your defenses or objections to the   sus objecciones a las demandas en contra de su persona. Sea avisado
                           claims set forth against you. You are warned that if you    que si usted no se defiende, la corte tomara medidas y puede
                           fail to do so the case may proceed without you and a        continuar la demanda en contra suya sin previo aviso o notificacion.
                           judgment may be entered against you by the court            Ademas, la corte puede decidir a favor del demandante y requiere
                           without further notice for any money claimed in the         que usted cumpla con todas las provisiones de esta demanda. Usted
                           complaint or for any other claim or relief requested by     puede perder dinero o sus propiedades o otros derechos iportantes
                           the plaintiff. You may lose money or property or other      para usted.
                           rights important to you.                                    LLEVE ESTA DEMANDA A UN ABOGADO INMEDIATAMENTE. SI
                           YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER                   NO TIENE ABOGADO, VAYA EN PERSONA O LLAME POR
                           AT ONCE. IF YOU DO NOT HAVE A LAWYER, GO TO                 TELEFONO A LA OFICINA QUE SE ENCUENTRA ESCRITA
                           OR TELEPHONE THE OFFICE SET FORTH BELOW.                    ABAJO.       ESTA OFICINA PUEDE PROVEER DE USTED
                           THIS     OFFICE      CAN     PROVIDE      YOU     WITH      INFORMACION SOBRE EMPLEAR A UN ABOGADO. SI USTED
                           INFORMATION ABOUT HIRING A LAWYER. IF YOU                   NO TIENE SUFICIENTE DINERO PARA EMPLEAR UN ABOGADO,
                           CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE                 ESTA OFICINA PUEDE PODER PROVEER DE USTED LA
                           MAY BE ABLE TO PROVIDE YOU WITH                             INFORMACION SOBRE LAS AGENCIAS QUE PUEDEN OFRECER
                           INFORMATION ABOUT AGENCIES THAT MAY                         SERVICIOS LEGAL A LAS PERSONAS ELEGIBLES EN UN
                           OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AT                 HONORARIO REDUCIDO O NINGUN HONORARIO.
                           A REDUCED FEE OR NO FEE.
                                                                                              Asociacion de Licenciados de Filadelphia
                                      Philadelphia Bar Association                             Servicio de Referencia e Informacion
                                      LAWYER REFERRAL & INFO.                                           One Reading Center
                                          One Reading Center
                                                                                                          Phila., PA 19107
                                              (215)238-1701
                                                                                                           (215) 238-1701


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                                                 UNITED STATES DISTRICT COURT
                                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                           ALEXIS LONGO                     :
                                                            :
                                                 Plaintiff, :
                               vs.                          :
                                                            :                          CIVIL ACTION
                           BRYN MAWR COLLEGE and            :
                           NELSON DAVID GOMEZ               :
                           BARRETO                          :                     NO: 2:21-CV-02538-JMY
                                                            :
                                              Defendants. :

                                                                 COMPLAINT

                              I.        INTRODUCTION

                                   1.     This action arises out of the repeated sexual misconduct of David Barreto

                          (“Barreto”) during his employment as a lecturer in the Spanish department at Bryn

                          Mawr College (“BMC”) and the deliberate indifference of BMC to that sexual misconduct

                          which ultimately allowed Barreto the opportunity to act out these inappropriate

                          behaviors towards his students, including Plaintiff Alexis Longo.

                             II.        PARTIES

                                   2.     Plaintiff,   Alexis Longo,   is   a twenty-two-year-old   individual   and

                          undergraduate student at Bryn Mawr College.

                                   3.     Defendant BMC is a private college with a principal place of business

                          located at 101 North Merion Avenue, Bryn Mawr, Pennsylvania 19010-2899.

                                   4.     Defendant David Barreto is an adult individual and former employee of

                          Bryn Mawr College with a residence located at 47 W. Mount Airy Avenue, Philadelphia,

                          PA 19119.

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                              III.        JURISDICTION AND VENUE

                                     5.     This Court has subject matter jurisdiction over this action pursuant to 28

                          U.S.C. § 1331 because Plaintiff’s statutory claims under Title IX present a federal

                          question over which this Court has jurisdiction. Plaintiff also asserts state law claims

                          over which this Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367. 1

                                     6.     Venue is proper pursuant to 28 U.S.C. § 1391 because all Defendants are

                          subject to the Courts personal jurisdiction with respect to the civil action in question.

                              IV.         FACTS

                                     7.     On June 06, 2019, Professor David Barreto took Ms. Longo and another

                          student out to dinner to celebrate the end of the academic semester.

                                     8.     After the dinner had concluded, Barreto suggested that he and the other

                          student should continue the celebration at the Center City Philadelphia apartment of the

                          other BMC student.

                                     9.     Barreto, who was well over the age of twenty-one, proceeded to make a

                          stop at the liquor store on his way to the other BMC student’s residence in order to

                          purchase alcohol to be provided to the students; at this time, Ms. Longo was under the

                          age of twenty-one years old and Barreto was aware of this fact.

                                     10.    After arriving at the student’s residence, Barreto was locked out and Ms.

                          Longo was asked to let him in through the back entrance of the building where Barreto

                          was waiting. Once they were isolated in the back of the building, Barreto proceeded to

                          press himself against her and starting repeatedly kissing Ms. Longo, without her consent

                          or willingness, and said over and over again told her he “wanted to f*ck her.” At this


                          1    Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681, et seq. (“Title IX”).
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                          time, he also made a comment that he “forgave her [school]work” because he wanted to

                          “f*ck her.”

                                 11.    Once Ms. Longo, Barreto, and the other BMC student were inside of her

                          apartment, Barreto proceeded to get drunk.

                                 12.    Ms. Longo stated that she felt uncomfortable and requested that her friend

                          refrain from leaving her alone with Barreto. At some point in the evening, however, her

                          friend left the residence to answer a phone call from her boyfriend. Barreto seized this

                          opportunity and began to again inappropriately touch Ms. Longo without her consent.

                          Unsure how to handle his continued, unwanted and unsolicited advances, Ms. Longo

                          pretended to fall asleep in hopes that he would stop touching her or leave altogether;

                          unfortunately, this did not deter Barreto and he continued to grope her for a period of

                          hours while Ms. Longo pretended to be asleep.

                                 13.    Barreto then turned his attention to Ms. Longo’s friend, with whom he

                          engaged in oral sex before leaving the residence. This sexual act between Barreto and

                          Ms. Longo’s friend took place in the room where Ms. Longo was feigning to be asleep.

                          She laid there terrified that she would be sexually assaulted by Barreto, and was in a

                          catatonic like state of abject fear for her safety and well-being.

                                 14.    At some point during the evening of July 06, 2019, David Barreto asked

                          Ms. Longo “you haven’t heard about me?” Upon hearing this question, it was clear to

                          Ms. Longo that Barreto was alluding to his well-known reputation at BMC for engaging

                          in inappropriate sexual conduct with students. Behavior that was known to the BMC

                          administration, and ignored.

                                 15.    For the entire next week, Ms. Longo was distraught and isolated herself

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                          from friends, family and work before finally returning to her family home.

                                16.      On or about July 23, 2019, Ms. Longo’s mother contacted the President’s

                          Office at BMC and was directed to speak with Kim Callahan, BMC’s then Title IX

                          Coordinator.

                                17.      On September 04, 2019, Ms. Longo met with Kim Callahan to report

                          the events that took place on June 06, 2019. Because Barreto was still teaching on

                          campus at that time, they agreed to meet at the Haverford Campus safety location.

                          Callahan further explained that Haverford and BMC share their Title IX resource office.

                          During this meeting at Haverford campus, Ms. Longo provided Kim Callahan with the

                          names of several witnesses to the events.

                                18.      Kim Callahan set up a meeting with Barreto, scheduled for the morning of

                          September 05, 2019; Barreto failed to show up for both the scheduled meeting and for

                          work that day.

                                19.      On September 06, 2019, Kim Callahan called Ms. Longo’s mother to

                          report that Barreto had inquired as to the purpose of the meeting and had requested

                          that his attorney be present for that meeting. Kim Callahan informed him that the

                          purpose of the meeting was to discuss allegations of inappropriate contact with BMC

                          students and that his attorney could be present, but not participate, during the

                          interview. Shortly afterward, Barreto tendered his resignation, effective immediately, to

                          the BMC Provost.

                                20.      Ms. Longo was then informed by Kim Callahan that Barreto’s resignation

                          meant the conclusion of BMC’s investigation into the events of June 06, 2019, and that

                          he had been “banned” from the campus.

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                                 21.    As a result of this traumatic experience, Ms. Longo was forced to take

                          medical leave during the fall 2019 – spring 2020 academic year and subsequently lost

                          her job as a paid intern in the rare books department at the BMC Library, and was also

                          required to move out of the summer housing that had been offered to her during her

                          internship. Additionally, Ms. Longo has had to obtain extensive mental health

                          counseling as a result of this experience.

                                 22.    Prior to the events of June 06, 2019, Barreto has engaged in

                          nonconsensual sexual misconduct with multiple other students during his employment

                          at BMC.

                                 23.    Upon information and belief, multiple students have previously reported

                          Barreto’s nonconsensual sexual misconduct to BMC.

                                 24.    Upon information and belief, BMC’s Title IX coordinator and/or other

                          BMC officials had notice of multiple reports of sexual misconduct perpetrated by

                          Barreto against multiple students during Barreto’s employment at BMC.

                                 25.    Upon information and belief, BMC failed to investigate, or to adequately

                          investigate, multiple reports of Barreto’s nonconsensual sexual contact with BMC

                          students during his employment at BMC.

                                 26.    BMC allowed Barreto to continue teaching and interacting with students

                          on the BMC campus following BMC’s receipt of reports of sexual misconduct against its

                          students.

                                 27.    Upon information and belief, David Barreto had been warned by BMC

                          administrators and/or supervisors that he should not engage in such inappropriate

                          sexual conduct with BMC students.

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                                  28.    Upon information and belief, BMC had notice of the fact that Barreto had

                          purchased, or attempted to purchase, illegal substances, specifically marijuana, from

                          BMC students during his employment at BMC.

                                  29.    Had BMC taken adequate remedial measures following previous reports of

                          Barreto’s sexual misconduct towards students, Ms. Longo would not have been sexually

                          harassed and sexually assaulted by Barreto.

                             V.        THEORIES OF LIABILITY AND CAUSES OF ACTION

                                                     COUNT ONE
                                         PLAINTIFF v. BRYN MAWR COLLEGE
                           VIOLATION OF TITLE IX OF THE EDUCATION AMENDMENTS OF 1972 –
                                                SEXUAL HARASSMENT

                                  30.    Plaintiff herein incorporates the above paragraphs by reference.

                                  31.    Upon information and belief, at all times relevant to this action, BMC has

                          received, and continues to receive, federal financial assistance.

                                  32.    BMC has subjected Plaintiff to a sexually hostile educational environment

                          in violation of Title IX.

                                  33.    Title IX may be violated by a school’s failure to prevent or remedy sexual

                          harassment or sexual assault. The statute is enforceable through an implied private right

                          of action.

                                  34.    BMC has discriminated against Plaintiff by subjecting her to a sexually

                          hostile environment that was sufficiently severe, pervasive, and objectively offensive to

                          interfere with the Plaintiff’s educational and employment opportunities, undermining

                          and detracting from her school experience. Because of BMC’s failure to implement

                          adequate procedures to detect, monitor, and correct this discrimination and hostile

                          environment, BMC has denied Plaintiff her personal right to work and learn in an
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                          environment free of sexual harassment.

                                 35.    Plaintiff was subjected to unwelcome quid pro quo sexual harassment

                          based on her sex. Plaintiff was subjected to unwelcome sexual conduct, including sexual

                          comments, unwanted sexual advances, and unwanted touching. Defendant Barreto, in

                          his capacity as a BMC employee, made known to Plaintiff that he expected her to submit

                          to that unwanted sexual conduct in exchange for favorable academic treatment,

                          including grades.

                                 36.    BMC had actual notice of the ongoing sexual harassment of students

                          committed by Defendant Barreto and the resulting hostile academic environment that

                          Ms. Longo and others endured at BMC during the relevant timeframe.

                                 37.    As discussed above, multiple reports of Barreto’s nonconsensual sexual

                          misconduct were made known to BMC and BMC’s Title IX coordinator and/or other

                          BMC officials in the years and months leading up to the events of June o6, 2019.

                                 38.    The BMC officials in receipt of reports of Barreto’s nonconsensual sexual

                          misconduct were in a position to initiate corrective measures but were deliberately

                          indifferent to those reports and did not initiate corrective measures.

                                 39.    BMC has demonstrated deliberate indifference by tolerating, condoning,

                          ratifying, and/or engaging in the hostile work and educational environment and failing

                          to take appropriate remedial action. As a result of BMC’s deliberate indifference to

                          multiple reports of previous nonconsensual sexual misconduct by Defendant Barreto

                          against BMC students, BMC placed Ms. Longo and other students at an ongoing risk of

                          sexual harassment.

                                 40.    Because of BMC’s unlawful conduct, Plaintiff has suffered and will

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                          continue to suffer harm, including but not limited to loss of future educational and

                          employment opportunities, humiliation, embarrassment, reputational harm, emotional

                          and physical distress, mental anguish and other damages.

                                 41.    Plaintiffs is entitled to all legal and equitable remedies available for

                          violations of Title IX, including compensatory damages, injunctive relief, attorneys’ fees

                          and costs, and other appropriate relief.

                                 WHEREFORE, Plaintiff hereby demands judgment against Defendants

                          including appropriate damages, plus costs and such other recoverable damages.

                                                             COUNT II
                                                   PLAINTIFF V. ALL DEFENDANTS
                                                           NEGLIGENCE

                                 42.    Plaintiff incorporates herein the above paragraphs by reference.

                                 43.    At all times relevant hereto, Barreto was acting as an employee, agent,

                          and/or servant of BMC and used his authority to sexually harass, sexually assault and

                          otherwise willfully cause harm to Plaintiff.

                                 44.    BMC is vicariously liable for the conduct of Barreto.

                                 45.    BMC has a responsibility to ensure that its students are not subject to

                          unreasonable risk of harm in their capacity as students, including sexual harassment

                          and sexual assault by faculty members.

                                 46.    BMC knowingly placed Ms. Longo and other students at risk of harm by

                          allowing a faculty member with a known history of sexual harassment and sexual assault

                          directed towards students to remain on campus in a faculty position.

                                 47.    At all times relevant hereto, BMC knew or should have known of Barreto’s

                          history of sexual misconduct perpetrated against students.

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                                 48.      In addition to being vicariously liable for the actions of Barreto, BMC was

                          negligent in:

                                          a)    Failing to enact adequate policies and procedures to
                                                prevent sexual assault and harassment by its employees,
                                                agents and/or servants;

                                          b)    Failing to provide adequate supervision of its employees,
                                                agents and/or servants;

                                          c)    Failing to take adequate remedial measures upon
                                                receiving reports of sexual assault and harassment by an
                                                employee, agent and/or servant; and

                                          d)    Failing to appreciate the danger of placing students under
                                                the academic instruction of an individual with a known
                                                history of sexually harassing and sexually assaulting
                                                students.

                                 49.      BMC’s actions and lack thereof displayed a willful disregard for the safety

                          and wellbeing of Ms. Longo and other students.

                                 50.      As a direct and proximate result of the BMC’s actions or lack thereof, both

                          corporately and vicariously, Plaintiff has suffered the damages set forth herein.

                                 51.      BMC increased the risk that Plaintiff would suffer the harm and damages

                          as outlined in this Complaint.

                                 WHEREFORE, Plaintiff hereby demands judgment against BMC to include all

                          damages available under Pennsylvania law, including punitive damages, plus interest,

                          costs, and damages for prejudgment delay.

                                                           COUNT III
                                                  PLAINTIFF V. DAVID BARRETO
                                          NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

                                 52.      Plaintiff incorporates herein by reference the averments of the preceding

                          paragraphs, as though fully set forth at length.

                                 53.      Plaintiff was, as described in this Complaint, acutely aware of Defendant
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                          Barreto’s inappropriate and unwelcome sexual misconduct that occurred on June 06,

                          2019.

                                  54.   Plaintiff experienced direct sensory and contemporaneous observation of:

                                        a)     the inappropriate and unwelcome sexual advances of
                                               Barreto towards Ms. Longo outside of the other BMC
                                               student’s apartment, including nonconsensual physical
                                               contact and Barreto’s comments that he “wanted to f*ck
                                               her;”

                                        b)     Barreto’s nonconsensual touching of Ms. Longo inside of
                                               the other BMC student’s apartment, which endured for a
                                               period of hours while Ms. Longo, terrified, pretended to
                                               sleep;

                                        c)     the panic associated with enduring Barreto’s continuous
                                               inappropriate and nonconsensual touching despite her
                                               feigned unconscious state;

                                        d)     the panic associated with being left vulnerable to, and
                                               unprotected from the forceful physical advances of an
                                               authority figure.

                                  55.   All of the damages claimed in this count are due to the actions and

                          omissions described herein, witnessed, observed and experienced by Plaintiff, Alexis

                          Longo.

                                  56.   As a result of the above acts and omissions, Plaintiff has suffered, and will

                          continue to suffer, from physical and emotional injuries, including but not limited to

                          nightmares, sleeplessness, anxiety, depression and other physical and emotional

                          injuries directly related to the observed acts and omissions described in this Complaint.

                                  57.   Defendant’s acts and omissions as described in this Complaint, which were

                          observed and understood by Plaintiff, were at all relevant times the direct and proximate

                          cause of, and increased the risk of, Plaintiff’s physical and emotional injuries.



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                                WHEREFORE, Plaintiff hereby demands judgment against Barreto to include

                          all damages available under Pennsylvania law, including punitive damages, plus

                          interest, costs, and damages for prejudgment delay.

                                            NOTICE OF PRESERVATION OF EVIDENCE

                                PLAINTIFF HEREBY DEMANDS AND REQUESTS THAT DEFENDANTS TAKE

                          NECESSARY ACTION TO ENSURE THE PRESERVATION OF ALL DOCUMENTS,

                          COMMUNICATIONS, WHETHER ELECTRONIC OR OTHERWISE, ITEMS AND

                          THINGS IN THE POSSESSION OR CONTROL OF ANY PARTY TO THIS ACTION, OR

                          ANY ENTITY OVER WHICH ANY PARTY TO THIS ACTION HAS CONTROL, OR

                          FROM WHOM ANY PARTY TO THIS ACTION HAS ACCESS TO, ANY DOCUMENTS,

                          ITEMS, OR THINGS WHICH MAY IN ANY MANNER BE RELEVANT TO OR RELATE

                          TO THE SUBJECT MATTER OF THE CAUSES OF ACTION AND/OR THE

                          ALLEGATIONS OF THIS COMPLAINT.




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                                                      DEMAND FOR JURY TRIAL

                                Plaintiff demands a jury trial.

                                                                         THE BEASLEY FIRM, LLC



                                                                   BY:    /s/ James E. Beasley, Jr._________
                                                                         JAMES E. BEASLEY, JR.
                                                                         DION G. RASSIAS
                                                                         GRAINNE LYNN
                                                                         ANDREW M. MARTH
                                                                         THE BEASLEY BUILDING
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                                                                         Attorneys for Plaintiff

                          Date: 2 June 2022




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                                                          CERTIFICATE OF SERVICE

                                 I hereby certify that I have served the within Discovery Requests, on the following

                          entities via electronic mail:

                                                          Michael van der Veen, Esq.
                                                             Daniel Devlin, Esq.
                                                      Van der Veen, Hartshorn & Levin
                                                              1219 Spruce Street
                                                           Philadelphia, PA 19107
                                            Attorneys for Defendant Nelson David Gomez Barreto

                                                           Michael Baughman, Esq.
                                                           Rosemary Cochrane, Esq.
                                                    Troutman Pepper Hamilton Sanders LLP
                                                            3000 Two Logan Square
                                                               18th & Arch Streets
                                                         Philadelphia, PA 19103-2799
                                                  Attorneys for Defendant Bryn Mawr College



                                                                                THE BEASLEY FIRM, LLC



                                                                        BY:      /s/ James E. Beasley, Jr._________
                                                                                JAMES E. BEASLEY, JR.
                                                                                DION G. RASSIAS
                                                                                GRAINNE LYNN
                                                                                ANDREW M. MARTH
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                          Date: 2 June 2022




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